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                     each Plaintiff and member of the putative class or collective. Defendants Kelco
                     Construction, Inc., E.L.M. General Construction Inc., John Kelly, and Joseph Provenzano
                     deny that they are joint employers (or even primary employers in some cases).
                     Defendants deny that this case is amenable to collective or class certification.

                     2.       Basis of Subject Matter Jurisdiction

                     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
                     supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367,
                     since such claims are so related in this action to the federal claims that they form part of
                     the same case or controversy under Article III of the United States Constitution.

                     3.       Subjects on Which Discovery May Be Needed

                     Plaintiff: Plaintiffs will seek the production of payroll data, wage statements, and hiring
                     notices from the Defendants on a class-wide basis. The primary payroll providers during
                     the relevant time period were Paychex and ADP. Plaintiffs will also seek certified
                     payrolls, copies of contracts to perform public work entered into by Kelco,, and
                     documents concerning the relationship between the Defendants John Kelly, Joseph
                     Provenzano, Kelco, and ELM. Plaintiff’s job performance and separation from
                     employment are irrelevant in a wage and hour lawsuit.

                     Defendant: Plaintiffs’: (i) work hours, (ii) rates of pay, (iii) job duties, (iv) job
                     performance, (v) separation of employment, (vi) status as union members, (vii) whether
                     Plaintiffs worked on public work projects and (viii) alleged damages. The corporate
                     structure of each Defendant. This list shall not be deemed expansive and Defendants
                     reserve the right to seek discovery on unenumerated topics.

                     4.       Initial Disclosures

                   The parties shall comply with their Rule 26(a) initial disclosure requirements on or before

           March 17, 2022 and will continue to supplement their productions.

                     5.       Formal Discovery

                   The parties jointly propose to the Court the following discovery plan:

                              a.      All fact discovery must be completed by December 31, 2022.

                   The parties are to conduct discovery in accordance with the Federal Rules of Civil

           Procedure and the Local Rules of the Southern District of New York. The following interim

           deadlines may be extended by the parties on consent without application to the Court, provided

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           that the parties meet the deadline for completing fact discovery set forth in 5(a) above.

                              i.      Depositions: Depositions shall be completed by November 30, 2022 and
                                      limited to no more than ten depositions per party. . Plaintiffs may attempt
                                      to depose ADP and Paychex prior to the completion of party depositions.
                                      Defendants reserve the right to seek a court order compelling these third
                                      party depositions to occur after the complete of party depositions. All
                                      other non-party depositions shall follow party depositions, absent court
                                      order or agreement between the parties.

                              ii.     Interrogatories: Initial sets of interrogatories shall be served on or before
                                      March 31, 2022. All subsequent interrogatories must be served no later
                                      than 30 days before the discovery deadline.

                              iii.    Requests for Admission: Requests for admission, if any, must be served
                                      on orbefore November 15, 2022.

                              iv.     Requests for Production: Initial requests for production will be exchanged
                                      on or before March 31, 2022 and responses shall be due within 30 days
                                      of service. All subsequent requests for production must be served no later
                                      than 30 days before the discovery deadline.

                              v.      Supplementation: Supplementations under Rule 26(e) must be made
                                      within a reasonable period of time after discovery of such information.

                     6.       Anticipated Discovery Disputes

                   Are there any anticipated discovery disputes? Does either party seek limitations on

           discovery? Describe.

                   Plaintiffs:    Plaintiffs will seek class-wide information pertaining to putative class
           members including pay stubs, hiring notices, and payroll records. “It is well-established within
           this Circuit that ‘[d]iscovery relating to class issues may overlap substantially with merits
           discovery.’” Flores v. Stanford, 2021 U.S. Dist. LEXIS 185700, at *16 (S.D.N.Y. Sep. 28,
           2021)(citing Bodner v. Paribas, 202 F.R.D. 370, 373 (E.D.N.Y. 2000)). Moreover, “[t]he fact that
           discovery may identify potential class members does not render otherwise proper discovery
           premature because it precedes class certification." U1it4less, Inc. v. FedEx Corp., 11 Civ.
           1713(CS)(PED), 2014 U.S. Dist. LEXIS 203862, 2014 WL 12779557, at *2 (S.D.N.Y. Oct. 31,
           2014). For this reason to the extent that employment records “relate to putative class members—
           among other things, names, contact information, hours and pay information—they all bear on class
           certification, maybe sought, and must be produced.” Thompson v. Glob. Contact Servs., LLC, No.
           20-CV-651-MKB-SJB, 2021 U.S. Dist. LEXIS 57589, at *5 (E.D.N.Y. Feb. 16, 2021). Indeed,
           “generic objections to [pre-certification] class discovery”as premature are “frivolous.” Dupres v.
           Houslanger & Assocs., PLLC, No. 19-CV-6691-RPK-SJB, 2021 U.S. Dist. LEXIS 108513, at *5
           (E.D.N.Y. June 9, 2021).

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                   Defendants: Defendants respectfully maintain that they should not be required to produce
           class wide discovery (i.e., time and pay records and personnel files) unless and until an individual
           opts in to the lawsuit or the court certified this lawsuit as a class action. Such production would
           be overbroad and unduly burdensome and seek production of material that is irrelevant to the
           claims asserted in this action. Defendants maintain that should Plaintiffs obtain an order certifying
           this Action as a class action pursuant to rule 23 of the Federal Rules of Civil Procedure, then the
           parties should meet and confer to submit a discovery schedule for the second phase of discovery.

                     7.       Amendments to Pleadings

                              a.      Are there any amendments to pleadings anticipated? None at this time.

                              b.      Last date to amend the Complaint July 1, 2022.

                     8.       Expert Witness Disclosures

                   At this time, the parties anticipate utilizing experts. Expert discovery shall be completed

           by February 27, 2023.

                     9.       Electronic Discovery and Preservation of Documents and Information

                              a.      Have the parties discussed electronic discovery? Yes.

                              b.      Is there an electronic discovery protocol in place? If not, when the parties
                                      except to have one in place by April 1, 2022.

                              c.      Do the parties want the Court to enter a Rule 502(d) Order? (see Rule
                                      502(d) Order)

                                      Yes     x    No

                              d.      Are there issues the parties would like to address concerning preservation

                                      of evidence and/or electronic discovery at the Initial Case Management

                                      Conference? Defendants used Paychex and ADP for payroll

                                      processing. At this time, Defendants do not believe that they are in

                                      possession, custody or control of payroll related ESI.

                     10.      Anticipated Motions

                   Plaintiffs: Plaintiffs anticipate filing a motion for conditional certification, class

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           certification, and summary judgment.

                   Defendants: Defendants expect to file a motion for summary judgment at the close of

           discovery.

                     11.      Early Settlement or Resolution

                   The parties have discussed the possibility of settlement. The parties request a settlement

             conference by no later than September 1, 2022. The following information is needed before

             settlement can be discussed:

                   Plaintiffs: Class-wide payroll information, pay stubs, hiring notices, and certified payrolls.

                   Defendants: Discovery pertaining to Plaintiffs’ employment, including their job

             performance and separation of employment; Plaintiffs’ alleged damages; and Defendants’

             defenses.

                     12.      Trial

                              a.      The parties anticipate that this case will be ready for trial by March 2023.

                              b.      The parties anticipate that the trial of this case will require ten (10) days.

                              c.      The parties do not consent to a trial before a Magistrate Judge at this
                                      time.

                              d.      The parties request a jury trial.


                   Respectfully submitted this 23rd Day of February 2022.


            ATTORNEYS FOR PLAINTIFFS                                      ATTORNEYS FOR DEFENDANTS

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